     Case 3:16-cv-01004-BEN-AGS Document 25-1 Filed 06/30/17 PageID.705 Page 1 of 9


1     THOMAS E. MONTGOMERY, County Counsel (State Bar No. 109654)
      County of San Diego
2     By JAMES M. CHAPIN, Senior Deputy (State Bar No. 118530)
      1600 Pacific Highway, Room 355
3     San Diego, California 92101-2469
      Telephone: (619) 531-5244; Fax: (619) 531-6005
4     E-mail: james.chapin@sdcounty.ca.gov
5     Attorneys for Defendants County of San Diego, Romeo De Guzman, Dana Harris
            and Maria Llamado
6
7
8                         IN THE UNITED STATES DISTRICT COURT
9                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11    ESTATE OF RONNIE PAUL                      )    No. 16cv1004-BEN(AGS)
      SANDOVAL and ANA SANDOVAL,                 )
12    an individual,                             )    DEFENDANTS’ REPLY TO
                                                 )    PLAINTIFFS’ RESPONSE TO
13                 Plaintiffs,                   )    SEPARATE STATEMENT OF
                                                 )    UNDISPUTED MATERIAL FACTS IN
14          v.                                   )    SUPPORT OF MOTION FOR
                                                 )    SUMMARY JUDGMENT
15    COUNTY OF SAN DIEGO, a Public              )
      Entity; SAN DIEGO COUNTY JAIL,             )    Date: July 10, 2017
16    a Public Entity; and DOES 1-100,           )    Time: 10:30 a.m.
                                                 )    Dept.: 5A - Courtroom of the
17                 Defendants.                   )    Honorable Roger T. Benitez
                                                 )    Pre-Trial Conference Date: Sept. 18, 2017
18                                               )
                                                 )
19
20          Defendants submit this reply to Plaintiffs’ response to separate statement of
21    undisputed material facts, together with references to supporting evidence, in support of
22    their motion for summary judgment.
23    ///
24    ///
25    ///
26    ///
27    ///
28    ///

                                                                             16cv1004-BEN(AGS)
     Case 3:16-cv-01004-BEN-AGS Document 25-1 Filed 06/30/17 PageID.706 Page 2 of 9


1      Defendants’ Undisputed          Opposing Party’s              Defendants’ Reply to
            Material Facts               Response and                Plaintiffs’ Response
2      and Supporting Evidence        Supporting Evidence
3                                  ALL CAUSES OF ACTION
4     1. Ronnie Sandoval was       1. Undisputed.                 1. Plaintiffs do not dispute.
      booked into San Diego
5     Central Jail at about 2:43
      p.m. on February 22,
6     2014. He did not appear
      to be under the influence
7     of drugs or in medical
      distress at that time.
8
      Evidence: Ex. A - Dec.
9     of Henry Castro; Ex. B -
      Dec. of Deborah Bell.
10
11    2. No member of the jail     2. Disputed –               2. Plaintiffs have distorted
      staff knew that Ronnie                                   Deputy Chavez’ testimony.
12    Sandoval was in need of      Deputy Chavez contacted     When describing his
      immediate medical care       Ronnie because he observed encounter with
13    until Sgt. Shawcroft         Ronnie was sweating         Mr. Sandoval, Deputy
      observed him slumping        profusely and appeared      Chavez specifically says “he
14    on the bench in medical      disoriented and lethargic.  looked a little bit
      observation cell #1 at       (Exh. 2, Chavez Depo.,      disoriented” and “he looked
15    12:55 a.m. on February       25:7-15; Chavez, 28:4-10.) a little bit ill” and “nothing
      23, 2014.                                                out of the ordinary.”
16                                 Deputy Bryan told Deputy    Plaintiffs’ Ex. 2 - Chavez
      Evidence: Ex. C - Dec. of    Chavez to notify the intake Depo. at 25:7-15. This does
17    Matthew Chavez; Ex. D -      nurse to check his blood    not show that the jail staff
      Dec. of Cesar Costa; Ex.     sugar. (Exh. 2, Chavez      knew Mr. Sandoval was in
18    E - Dec. of Michael          Depo., 28:24-29:2.)         need of immediate medical
      Bryan; Ex. F - Dec. of                                   care.
19    Lavinia Martinez; Ex. G -    Approximately an hour
      Dec. of Graham               later, Deputy Chavez
20    Wilkinson; Ex. H - Dec.      noticed Ronnie was still
      of Romeo De Guzman;          “sweating a lot and
21    Ex . M - Dec. of Richard     appeared to be very tired
      Geller, ¶¶ 4-9; Ex. P -      and disoriented.” (Exh. 3,
22    Depo. of Dana Harris,        Chavez Report.)
      67:22-68:18.
23                                 When Chavez contacted
                                   Ronnie, Ronnie said, “I’m
24                                 very cold and not feeling
                                   well.” (Exh. 2, Chavez
25                                 Depo., 39:15-20.)
26                                 Deputy Chavez thought this
                                   was odd given Ronnie was
27                                 sweating profusely. (Exh. 2,
                                   Chavez Depo., 40:2-10.)
28
                                               -2-
                                                                            16cv1004-BEN(RBB)
     Case 3:16-cv-01004-BEN-AGS Document 25-1 Filed 06/30/17 PageID.707 Page 3 of 9


1                                 Deputy Chavez reported his
                                  observations to Corporal
2                                 Martinez. Corporal
                                  Martinez told Deputy
3                                 Chavez to escort Ronnie to
                                  the “second floor to have
4                                 him more thoroughly
                                  evaluated,” expecting
5                                 medical to do a “full
                                  assessment.” (Exh. 2,
6                                 Chavez Depo., 32:17-25;
                                  33:5-10.)
7
                                  Deputy Chavez explicitly         The representation made by
8                                 told Defendant DeGuzman          Plaintiffs at page 3, lines 1-
                                  “that he had been cleared by     4 of their Response is not
9                                 the medical staff                supported by the evidence
                                  downstairs, but there is still   they cite and should be
10                                something going on so you        disregarded.
                                  need to look at him more
11                                thoroughly.” (Exh. 2,            Deputy Chavez testified:
                                  Chavez Depo., 33:24-34:2;
12                                42:21-25.)                         “Q. At any time did you
                                                                   express to Nurse de
13                                                                 Guzman that you thought
                                                                   that Sandoval was a
14                                                                 potential – had a potential
                                                                   drug problem?
15
                                                                     A. No.
16
                                                                     Q. You never made that
17                                                                 correlation, right?
18                                                                   A. Right. Sandoval
                                                                   doesn’t appear to be at first
19                                                                 glance what you would
                                                                   typically picture as someone
20                                                                 who has a drug problem.
21                                                                   Q. Especially not a meth
                                                                   problem?
22
                                                                     A. Exactly.”
23
                                                                   Ex. R – transcript of the
24                                                                 deposition of Deputy
                                                                   Chavez, at 40:17 - 41:1.
25
26                                Approximately thirty             The representation made by
                                  minutes later, Deputy            Plaintiffs at page 3, lines 5-
27                                Rodriguez told DeGuzman          7 of their Response is not
                                  that Sandoval was “shaking       supported by the evidence
28                                mildly … [and] appeared to       they cite and should be
                                              -3-
                                                                             16cv1004-BEN(RBB)
     Case 3:16-cv-01004-BEN-AGS Document 25-1 Filed 06/30/17 PageID.708 Page 4 of 9


1                                  be having withdrawals from       disregarded. And the report
                                   drugs.” (Exh. 5, Rodriguez       is hearsay and lacks
2                                  Report.)                         foundation.
3     3. Before 12:55 a.m.         3. Disputed –              3. Plaintiffs have distorted
      Sandoval did not exhibit                                Deputy Chavez’ testimony.
4     any of the clinical signs    Deputy Chavez contacted    He specifically says “he
      and symptoms of acute        Ronnie because he observed looked a little bit
5     methamphetamine              Ronnie was sweating        disoriented” and “he looked
      intoxication or the need     profusely and appeared     a little bit ill” and “nothing
6     for immediate medical        disoriented and lethargic. out of the ordinary” when
      care.                        (Exh. 2, Chavez Depo.,     describing his encounter
7                                  25:7-15; 28:4-10.)         with Mr. Sandoval.
      Evidence: Ex. M - Dec.                                  Plaintiffs’ Ex. 2 - Chavez
8     of Richard Geller, ¶4. Ex.   Deputy Rodriguez noticed   Depo. at 25:7-15. This does
      N - Dec. of Alicia Minns,    Sandoval was “shaking      not show that the jail staff
9     ¶5; Ex. A - Dec. of Henry    mildly … appeared to be    knew Mr. Sandoval was
      Castro; Ex. B - Dec. of      having withdrawals from    exhibiting clinical signs and
10    Deborah Bell; Ex. C -        drugs.” (Exh. 5, Rodriguez symptoms of acute
      Dec. of Matthew Chavez;      Report.)                   methamphetamine
11    Ex. D - Dec. of Cesar                                   intoxication and of the need
      Costa; Ex. E - Dec. of                                  for immediate medical care.
12    Michael Bryan; Ex. F -                                  The report of Deputy
      Dec. of Lavinia Martinez;                               Rodriguez is inadmissible.
13    Ex. G - Dec. of Graham
      Wilkinson; Ex. H - Dec of    Further, Plaintiffs’             Defendants object: Plaintiffs
14    Romeo De Guzman.             emergency room expert,           Exhibit 16, a letter from
                                   Dr.Falgiani, opined, “The        Dr. Falgiani, is hearsay,
15                                 first breach in the standard     lacks foundation, and is not
                                   of care was the failure of the   relevant. Plaintiffs have
16                                 San Diego Central Jail to        failed to offer a declaration
                                   provide a proper and             or testimony to support this
17                                 thorough medical screening       claim. This letter does not
                                   exam, for a person who           address the facts testified to
18                                 exhibited signs of acute         by Deputy. Chavez, that
                                   toxicity being diaphoresis       Mr. Sandoval “looked a
19                                 and disorientation. At this      little bit disoriented” and
                                   point, Mr. Sandoval should       “he looked a little bit ill”
20                                 have been taken to the           and “nothing out of the
                                   nearest emergency                ordinary.” Plaintiffs’ Ex. 2 -
21                                 department for a thorough        Chavez Depo. at 25:7-15.
                                   medical evaluation to ensure
22                                 that he was safe from a
                                   medical standpoint.” (Exh.
23                                 16, Falgiani Report.)
24                                 Plaintiffs’ correctional nurse   Defendants object: Plaintiffs
                                   expert, Gwendolyn                Exhibit 24, a report from
25                                 Vontoure, opined,                Nurse Vontoure, is hearsay,
                                   “Suspected                       lacks foundation, and is not
26                                 methamphetamine overdose         relevant. Plaintiffs have
                                   is a life-threatening            failed to offer a declaration
27                                 emergency.” She further          or testimony to support this
                                   describes some of the            claim. This report assumes
28                                 symptoms of                      that a life-threatening
                                                 -4-
                                                                              16cv1004-BEN(RBB)
     Case 3:16-cv-01004-BEN-AGS Document 25-1 Filed 06/30/17 PageID.709 Page 5 of 9


1                                   methamphetamine                 methamphetamine overdose
                                    overdose, including:            was suspected at the time,
2                                   agitation, diaphoresis and      and does not address the
                                    incoherence. Lastly, she        facts testified to by Deputy.
3                                   states “chances for recovery    Chavez, that Mr. Sandoval
                                    are dependent upon how          “looked a little bit
4                                   quickly the patient receives    disoriented” and “he looked
                                    medical attention.” (Exh.       a little bit ill” and “nothing
5                                   24, Gwen Report, pg. 30.)       out of the ordinary.”
                                                                    Plaintiffs’ Ex. 2 - Chavez
6                                                                   Depo. at 25:7-15. This
                                                                    report does not address the
7                                                                   Undisputed Fact Number 3.
8     4. Sandoval had been          4. Disputed –                   4. The name of the cell is
      placed in an observation                                      not material. Whether it is
9     cell in the nurses’ station   Whether the cell is an          an observation cell or a
      which had a full window       “observation cell” or a         holding cell, the point is
10    facing the nurses so that     “holding cell” is in            that it had a full window
      he could be seen at all       dispute. It is agreed           so the staff could observe
11    times.                        among all those deposed         Mr. Sandoval and see if
                                    the cell is a multi-purpose     he was exhibiting signs of
12    Evidence: Ex. I - Depo. of    cell. (Exh. 4, DeGuzman         medical distress. The
      Maria Llamado, 58:13-         Depo., 148:21-149:11.)          collapse of Mr. Sandoval
13    59:19, 60:14-61:7, 49:4-12;                                   did not go undetected for
      Ex. O - Depo. of Romeo De     According to Supervisor         even a minute. This was
14    Guzman, 64:10-20; Ex. P -     Estolano, it is a holding       not a situation where
      Depo. of Dana Harris 67:9-    cell if deputies are using it   Mr. Sandoval was not
15    71:11.                        and it is a medical cell if     observed frequently
                                    medical staff is using it.      enough and was left
16                                  (Exh. 23, Estolano Depo.,       unattended while
                                    135:6-135:7.)                   exhibiting distress.
17                                                                  Because Mr. Sandoval
                                    It is also disputed as to       was in cell with windows
18                                  why Ronnie was placed in        near the nursing station,
                                    that cell. DeGuzman             he was observed
19                                  asked Chavez to place           repeatedly by several
                                    Ronnie in the cell, but         nearby staff members.
20                                  then claims he was never        His 12:55 a.m. collapse
                                    told to monitor him. (Exh.      was witnessed, as it
21                                  4, DeGuzman Depo.,              happened, by Sergeant
                                    72:24-73:21; 76:8-19;           Shawcroft. Ex. K –
22                                  99:7-20.)                       Declaration of Sergeant
                                                                    Shawcroft at ¶¶ 2-3.
23                                  Further, despite the cell
                                    being within the nursing        Further, Nurse De
24                                  bay and having a half           Guzman testified:
                                    window, Ronnie was not
25                                  “seen at all times.”              “Q. Your screening
                                    Defendant DeGuzman              station is about 20 feet
26                                  admits, after the second        away from that holding
                                    blood sugar test he never       cell?
27                                  checked on Ronnie again.
                                    (Exh. 4, DeGuzman                A. That’s right.
28                                  Depo., 99:7-20.)
                                                  -5-
                                                                              16cv1004-BEN(RBB)
     Case 3:16-cv-01004-BEN-AGS Document 25-1 Filed 06/30/17 PageID.710 Page 6 of 9


1                                                                     Q. While you were
                                     Nurse Allan was the other      doing your work, you
2                                    second floor nurse on          could see him back in that
                                     duty between 3:00 p.m.         holding cell the whole
3                                    and 11:00 p.m. Nurse           time? The whole eight
                                     Allan’s statement              hours, he's right there in
4                                    indicates she was not          front of you?
                                     aware of Ronnie’s
5                                    presence in the cell. (Exh.     A. Yeah.”
                                     25, Marylene Allen
6                                    Statement.)                    Ex. Q. De Guzman depo,
                                                                    at pp. 99-100.
7                                    Defendant Llamado
                                     testified the first time she
8                                    noticed Ronnie is when
                                     Defendant Harris yelled
9                                    out “man down.” (Exh.
                                     12, Llamado Depo., 53:8-
10                                   13.)
11                                   Lastly, Defendant Harris
                                     testified she does not have
12                                   a recollection of
                                     checking, scanning, or
13                                   looking at Ronnie prior to
                                     the man down. (Exh. 13,
14                                   Harris Depo., 71:12-16.)
15    5. When Sgt. Shawcroft         5. Disputed –                  5. Plaintiffs use of
      saw Sandoval slumping                                         testimony showing vital
16    on the bench, he               Defendant Harris               signs were “slightly high”
      immediately summoned           admitted Ronnie                or “a little low” does not
17    Nurse Harris. Nurse            presented with a rate of       change the fact that the
      Harris and Nurse               20 BPM, which she              vital signs were
18    Llamado responded and          admitted was “kind of          considered by the nurse to
      began assessment and           fast.” (Exh. 13, Harris        be stable. Nurse Harris’
19    treatment. Nurses              Depo., 163:15-25.)             testimony is:
      checked blood pressure,
20    oxygen level, pupil            She noted his oxygen             “Q. Okay. And at the
      reaction and all vital signs   level was 94%, which she       time you called for EMTs,
21    were stable. Sandoval did      admitted was “a little         why did you make the
      not appear to be having a      low.” (Exh. 13, Harris         decision to call for EMTs
22    seizure and EMT                Depo., 166:10-16.)             and not paramedics?”
      response was immediately
23    requested. When his            She also noted Ronnie’s          A. My patient was
      condition deteriorated,        blood glucose level was        stable. He was responsive.
24    paramedics were called at      151, which she admitted        His vital signs were
      1:20 a.m.                      was “slightly high.” (Exh.     stable. There was nothing
25                                   13, Harris Depo., 168:9-       going on with my patient
      Evidence: Ex. K - Dec. of      13.)                           which would warrant
26    Robert Shawcroft; Ex. I -                                     calling a paramedic.”
      Depo. of Maria Llamado,        Thus, Ronnie’s vital were
27    39:22-40:8, 53:8-17, 126:3-    not stable. Further,           Ex. P – Harris Depo., at
      8, 75:10-76:13, 78:11-         according to Sergeant          96:13-19.
28    79:19; 115:21-116:13: Ex. P    Shawcroft, when he
                                                  -6-
                                                                             16cv1004-BEN(RBB)
     Case 3:16-cv-01004-BEN-AGS Document 25-1 Filed 06/30/17 PageID.711 Page 7 of 9


1     - Depo. of Dana Harris,        entered the cell, Ronnie
      62:4-64:2, 66:3-69:12, 75:2-   was on the ground
2     81:19, 85:4-25, 91:22-24,      seizing. (Exh. 7,
      96:9-19, 103:23-105:2,         Shawcroft Depo., 76:12-
3     111:7-112:4, 188:18-24,        77:10; Exh. 8, Shawcroft
      Exh. 7.                        Report.)
4
                                     Deputy Edge testified        Plaintiffs attempt to use
5                                    Ronnie was                   Deputy Edge and Sgt.
                                     “unresponsive,”              Shawcroft as medical
6                                    “clammy” and “seizing.”      experts is objected to:
                                     (Exh. 10, Edge Depo.,        Foundation, Relevance.
7                                    55:2-18.)
8                                    Defendant Llamado
                                     testified Ronnie was
9                                    unresponsive, snoring and
                                     seizing. (Exh. 11,
10                                   Llamado Statement; Exh.
                                     12, Llamado Depo.,
11                                   114:16-19.)
12                                   Bautista testified that
                                     when she received the
13                                   initial call from Llamado,
                                     Llamado told her Ronnie
14                                   had been seizing for 10
                                     minutes. (Exh. 22,
15                                   Bautista Depo., 70:3-11.)
16                                   In fact, Defendant
                                     Llamado testified Ronnie
17                                   had a “prolonged
                                     seizure.” The paramedics
18                                   report indicates Ronnie
                                     had “tremor like shakes
19                                   for approx 15mins.” (Exh.
                                     15, Paramedics Report.)
20
                                     EMTs were not requested      Ex. 6, Follow up
21                                   until 10 minutes into        investigation report is
                                     Ronnie’s seizure. (Exh. 6,   objected to. Hearsay,
22                                   Follow-Up Investigation      Relevance. Calling EMTs
                                     Report.)                     ten minutes after
23                                                                Mr. Sandoval collapsed
                                                                  does not show deliberate
24                                                                indifference. Nurse
                                                                  Harris requested EMTs to
25                                                                be called after 3 minutes.
26                                   According to the             Ex. 15, a Paramedic
                                     paramedics report, 911       Report, is objected to:
27                                   was not dispatched until     Hearsay.
                                     1:30 a.m. (Exh. 15,
28                                   Paramedic Report)
                                                 -7-
                                                                            16cv1004-BEN(RBB)
     Case 3:16-cv-01004-BEN-AGS Document 25-1 Filed 06/30/17 PageID.712 Page 8 of 9


1     6. Emergency Medical         6. Disputed –                 Defendants object:
      Technicians and                                            Plaintiffs Exhibit 16, a
2     Paramedics responded         According to Plaintiffs’      letter from Dr. Falgiani, is
      and continued                emergency room expert,        hearsay, lacks foundation,
3     resuscitative efforts.       Dr. Falgiani, “If             and is not relevant.
      Sandoval died from acute     Mr. Sandoval had been         Plaintiffs have failed to
4     methamphetamine              taken to an emergency         offer a declaration or
      intoxication. He could       department at any time        testimony to support this
5     not have been revived        during the time he was in     claim.
      even if he had been in the   Central up to the time that
6     emergency room when he       he lost his pulse and went
      collapsed.                   into cardiac arrest, more
7                                  likely than not his life
      Evidence: Ex. K - Dec. of    would have been able to
8     Robert Shawcroft; Ex. M      be saved by appropriate
      - Dec. of Richard Geller;    medical interventions.”
9     Ex. N - Dec. of Alicia       (Exh. 16, Falgiani
      Minns                        Report.)
10
                                   According to Plaintiffs’      Defendants object:
11                                 correctional nurse expert,    Plaintiffs Exhibit 24, a
                                   Gwendolyn Vontoure,           report from Nurse
12                                 “chances of recovery          Vontoure, is hearsay,
                                   [from symptoms of             lacks foundation, and is
13                                 overdose] are dependent       not relevant. Plaintiffs
                                   upon how quickly the          have failed to offer a
14                                 patient receives medical      declaration or testimony
                                   attention.” (Exh. 24,         to support this claim.
15                                 Gwen Report, pg 30.)          This report vaguely
                                                                 asserts that chances for
16                                                               recovery from symptoms
                                                                 of an overdose depend on
17                                                               how quickly the drug user
                                                                 receives medical care.
18                                                               This does not address the
                                                                 specific facts of
19                                                               Mr. Sandoval’s ingestion
                                                                 of a massive quantity of
20                                                               meth and his repeated
                                                                 denials of having any
21                                                               drugs in his system.
22    7. This is only time there   Plaintiffs are not aware of   8. Plaintiffs do not
      has been a death of          any facts that would          dispute.
23    anyone in this observation   support or oppose the
      cell.                        contention stated. In an
24                                 interview given by
      Evidence: Ex. O - Depo.      Defendant DeGuzman he
25    of Romeo De Guzman,          ambiguously stated
      121:8-13.                    inmates will continue to
26                                 die if the policy
                                   associated with Ronnie’s
27                                 cell is not changed.
28
                                               -8-
                                                                           16cv1004-BEN(RBB)
     Case 3:16-cv-01004-BEN-AGS Document 25-1 Filed 06/30/17 PageID.713 Page 9 of 9


1     8. The actions of each of   7. [sic] Disputed –            8. Defendants object:
      the nurses met the                                         Plaintiffs Exhibit 16, a
2     standard of care.           According to Plaintiffs’       letter from Dr. Falgiani, is
                                  experts each nurse fell        hearsay, lacks foundation,
3     Evidence: Ex. N - Dec.      below the standard of          and is not relevant.
      of Alicia Minns             care. (Exh. 16, Falgiani       Plaintiffs have failed to
4                                 Report, pg 5-6; Exh. 24,       offer a declaration or
                                  Vontoure Report, pg 5-6.)      testimony to support this
5                                                                claim.
6                                                                Defendants object:
                                                                 Plaintiffs Exhibit 24, a
7                                                                report from Nurse
                                                                 Vontoure, is hearsay,
8                                                                lacks foundation, and is
                                                                 not relevant. Plaintiffs
9                                                                have failed to offer a
                                                                 declaration or testimony
10                                                               to support this claim.
11                                Nurse Supervisor Carlos        Plaintiffs distort the
                                  Estolano testified             testimony of Nurse
12                                Defendant Harris fell          Estolano. He did not
                                  below the standard of care     testify about the standard
13                                by not calling 911 in a life   of care. He testified:
                                  threatening situation and
14                                by refusing to comply            “Q. My question is, in a
                                  with a supervisor’s order.     given scenario where a
15                                (Exh. 23, Estolano Depo.,      nurse has her own
                                  29:4-30:10; 113:24-            thoughts but she gets a
16                                114:20; 118:10-17.)            director      from     her
                                                                 supervisor, can she ignore
17                                Supervisor Carlos              that directive?
                                  Estolano also testified
18                                Defendant Llamado fell           A. A nurse should
                                  below the standard of care     follow the chain of
19                                by forming the opinion         command.”
                                  Ronnie needed 911 yet
20                                refusing to summon it.         Plaintiffs Ex 23, Estolano
                                  (Exh. 23, Estolano Depo.,      Depo., at 118:14-17.
21                                124:20-125:9-20.)
22    DATED: June 30, 2017         THOMAS E. MONTGOMERY, County Counsel
23                                 By: /s/ James M. Chapin
                                          JAMES M. CHAPIN, Senior Deputy
24                                 Attorneys for Defendants County of San Diego,
                                   Romeo De Guzman, Dana Harris and Maria Llamado
25                                 E-mail: james.chapin@sdcounty.ca.gov
26
27
28
                                               -9-
                                                                           16cv1004-BEN(RBB)
